                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

 In Re:                                         )

 James H. Orso, Jr.                             )       Case No: 16-01516

            Debtor.                             )


                ORDER AUTHORIZING EMPLOYMENT OF ATTORNEY


            This matter came before the Court on the Debtor’s Application to Employ

 Michael J. Harbin as its attorney under a general retainer to represent it as Debtor-In-

 Possession herein, and under the annexed disclosure of said Michael J. Harbin. No notice

 was necessary. The Court considered the Application and Declaration of Michael J.

 Harbin. All potential adverse interests have been disclosed. Michael J. Harbin is an

 attorney duly admitted to practice in this Court. The Court is satisfied that Michael J.

 Harbin represents no interests adverse to James H. Orso, Jr., as Debtor-in-Possession,

 herein or to the estate, in the matters upon which he is to be engaged, that his

 employment is necessary and is in the best interest of the estate, and that the case is one

 justifying a general retainer. The Court is of the opinion that the Application should be

 granted.

            Therefore, it is ORDERED that the Application of Debtor to employ Michael J.

 Harbin as its attorney is GRANTED.

            It is further ORDERED that James H. Orso, Jr., as Debtor-in-Possession herein is

 AUTHORIZED to employ Michael J. Harbin as its attorney in this proceeding under

 Chapter of the Bankruptcy Code, effective form the Petition Filing Date, subject,


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 however, to this Court’s approval as to the amount and extent of all fees and expenses to

 be paid to said attorney.

 Dated: September 16, 2016




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